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FOR THE WESTEFlN D|STR|CT OF TENNESSEE
WESTEHN D|VlSiON

 

UNITED STATES OF AMER|CA
Plaintiff

VS.
CF{. NO. 05-20093-5

NIARKE|TA ECHOLS,

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYING PEH|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Monday, September 26, 2005, at 9:30 a.m., in Courtroom 1, 11th Floor

of the Federa| Bui|ding, Memphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

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UNITED sTATE""DISICT COURT - WESERNT D's'TRCT 0 TESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20093 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

David Pritchard

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Honorable J. Breen
US DISTRICT COURT

